                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION

WILLIAM LINDALA, Individually and on Behalf ) Case No.: 19-cv-1696
of All Others Similarly Situated,           )
                                            ) CLASS ACTION COMPLAINT
                                            )
               Plaintiff,                   )
        v.                                  )
                                            ) Jury Trial Demanded
HALSTED FINANCIAL SERVICES, LLC,            )
                                            )
                                            )
               Defendant.                   )

                                         INTRODUCTION

       1.      This class action seeks redress for collection practices that violate the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. (the “FDCPA”), and the Wisconsin Consumer

Act, chapter 427, Wisconsin Statutes (the “WCA”).

                                  JURISDICTION AND VENUE

       2.      The court has jurisdiction to grant the relief sought by the Plaintiff pursuant to

15 U.S.C. § 1692k, and 28 U.S.C. §§ 1331, 1337, and 1367. Venue in this District is proper in

that Defendant directed its collection efforts into the District.

                                              PARTIES

       3.      Plaintiff William Lindala is an individual who resides in the Eastern District of

Wisconsin (Milwaukee County).

       4.      Plaintiff is a “consumer” as defined in the FDCPA, 15 U.S.C. § 1692a(3), in that

Defendant sought to collect from Plaintiff a debt incurred for personal, family, or household

purposes.

       5.      Plaintiff is also a “customer” as defined in the Wisconsin Consumer Act, Wis.

Stat. § 421.301(17), in that he engaged in a consumer credit transaction.




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       6.       Defendant Halsted Financial Services, LLC (“Halsted”) is a foreign limited

liability company with its principal place of business located at 8001 North Lincoln Avenue,

Suite 500, Skokie, Illinois 60077.

       7.       Halsted is engaged in the business of a collection agency, using the mails and

telephone to collect consumer debts originally owed to others.

       8.       Halsted is engaged in the business of collecting debts owed to others and incurred

for personal, family or household purposes.

       9.       Halsted is a debt collector as defined in 15 U.S.C. § 1692a and Wis. Stat.

§ 427.103(3).

                                               FACTS

       10.      On or about March 20, 2019, Halsted mailed a debt collection letter to Plaintiff

regarding an alleged debt owed to “LVNV Funding LLC,” with an “Original Creditor” listed as

“CREDIT ONE BANK, N.A.” A copy of this letter is attached to this complaint as Exhibit A.

       11.      Upon information and belief, the alleged debt referenced in Exhibit A was

incurred by use of a credit card, which was used only for personal, family, or household

purposes.

       12.      Upon information and belief, Exhibit A is a form letter, generated by computer,

and with the information specific to Plaintiff inserted by computer.

       13.      Upon information and belief, Exhibit A is a form debt collection letter used by

Halsted to attempt to collect alleged debts.

       14.      Upon information and belief, Exhibit A was the first written communication

Plaintiff received from Halsted regarding the alleged debt referenced in Exhibit A.



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       15.     Exhibit A contains the validation notice that the FDCPA, 15 U.S.C. § 1692g,

requires debt collectors to provide along with their initial communications:




       16.     Additionally, Exhibit A includes the following statement:




       17.     On or about May 10, 2019, Halsted mailed another debt collection letter to

Plaintiff regarding the same alleged debt owed to “LVNV Funding LLC.” with A copy of this

letter is attached to this complaint as Exhibit B.

       18.     Upon information and belief, Exhibit B is another form letter, of the same form as

Exhibit A.

       19.     Like Exhibit A, Exhibit B includes the following statement:




       20.     The unsophisticated consumer would understand the representation that “a

negative credit report reflecting on your credit record may be submitted to a credit reporting

agency if you fail to fulfill the terms of your credit obligation” to be a representation that Halsted

and/or the creditor would in fact report their alleged debt as delinquent to a credit reporting

agency (“CRA”) if they failed to tender payment as demanded by the collection letter. See, e.g.,

Lox v. CDA, Ltd., 689 F.3d 818, 825 (7th Cir. 2012) (citing Gonzales v. Arrow Fin. Servs., LLC,




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660 F.3d 1055, 1063 (9th Cir. 2011)); Cooper v. Retrieval-Masters Credit Bureau, Inc., 2017

U.S. Dist. LEXIS 84693, *7, 2017 WL 2404952 (N.D. Ill. June 2, 2017).

       21.     Similarly, the unsophisticated consumer would understand the statement “a

negative credit report reflecting on your credit record may be submitted to a credit reporting

agency if you fail to fulfill the terms of your credit obligations” be a representation that Halsted

and/or the creditor had not yet reported their alleged debt as delinquent to any CRA and that such

a negative credit report could be avoided if they tendered payment as demanded by the collection

letter, Exhibit A. See, e.g., Johnson v. Enhanced Recovery Co., LLC, 228 F. Supp. 3d 870 (N.D.

Ind. 2017).

       22.     By sending a series of collection letters which state “a negative credit report

reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill

the terms of your credit obligations” Halsted is engaging in communications to the consumer in

connection with the collection of a debt which include representations that are false, deceptive,

and misleading.

       23.     After Halsted sent Plaintiff Exhibit A, Halsted and/or the creditor of Plaintiff’s

alleged debt either did or did not report such debt to CRAs prior to sending Exhibit B, which was

mailed almost two months later than the initial letter.

       24.     If Halsted and/or the creditor did not report the alleged debt to any CRA between

sending Exhibits A & B, the representation included in Exhibit A that “a negative credit report

reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill

the terms of your credit obligations” constitutes a false, deceptive, and misleading threat.

       25.     Conversely, if Halsted and/or the creditor did indeed report the alleged debt to any

CRA, the representation included in Exhibit B that “a negative credit report reflecting on your



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credit record may be submitted to a credit reporting agency if you fail to fulfill the terms of your

credit obligations” constitutes a false, deceptive, and misleading representation because the

unsophisticated consumer would understand such a representation to indicate that a negative

credit report could be avoided if they tendered payment as demanded by the subsequent letter.

       26.     False, deceptive, and misleading representations regarding credit reporting are

material misrepresentations:

               Credit reports matter, and damage to one’s report can occur in a moment
               but take a decade or more to repair. […] Consumers with debts in
               collection are generally people doing their best in the face of a tough
               situation that requires them to make difficult choices. “[T]here is universal
               agreement among scholars, law enforcement officials, and even debt
               collectors that the number of persons who willfully refuse to pay just debts
               is minuscule. The vast majority of consumers who obtain credit fully
               intend to repay their debts.” By offering (or appearing to offer) a
               consumer a way to keep one delinquency off her credit report, a debt
               collector might get itself bumped to the top of her list of payments to
               make. That makes the offer material…

Johnson, 228 F. Supp. 3d at 878 (internal citations omitted).

       27.     Plaintiff misled and confused by Exhibits A & B.

       28.     The unsophisticated consumer would be misled and confused by Exhibits A & B.

                                           The FDCPA

       29.     The FDCPA creates substantive rights for consumers; violations cause injury to

consumers, and such injuries are concrete and particularized. Derosia v. Credit Corp. Solutions,

2018 U.S. Dist. LEXIS 50016, *12, 2018 WL 1513043 (E.D. Wis. March 27, 2018); Pogorzelski

v. Patenaude & Felix APC, No. 16-C-1330, 2017 U.S. Dist. LEXIS 89678 *9 (E.D. Wis. June

12, 2017) (“A plaintiff who receives misinformation from a debt collector has suffered the type

of injury the FDCPA was intended to protect against.”); Spuhler v. State Collection Servs., No.

16-CV-1149, 2017 U.S. Dist. LEXIS 177631 (E.D. Wis. Oct. 26, 2017) (“As in Pogorzelski, the



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Spuhlers’ allegations that the debt collection letters sent by State Collection contained false

representations of the character, amount, or legal status of a debt in violation of their rights under

the FDCPA sufficiently pleads a concrete injury-in-fact for purposes of standing.”); Bock v.

Pressler & Pressler, LLP, No. 11-7593, 2017 U.S. Dist. LEXIS 81058 *21 (D.N.J. May 25,

2017) (“through [s]ection 1692e of the FDCPA, Congress established ‘an enforceable right to

truthful information concerning’ debt collection practices, a decision that ‘was undoubtedly

influenced by congressional awareness that the intentional provision of misinformation’ related

to such practices, ‘contribute[s] to the number of personal bankruptcies, to marital instability, to

the loss of jobs, and to invasions of individual privacy,”); Quinn v. Specialized Loan Servicing,

LLC, No. 16 C 2021, 2016 U.S. Dist. LEXIS 107299 *8-13 (N.D. Ill. Aug. 11, 2016) (rejecting

challenge to Plaintiff’s standing based upon alleged FDCPA statutory violation); Lane v.

Bayview Loan Servicing, LLC, No. 15 C 10446, 2016 U.S. Dist. LEXIS 89258 *9-10 (N.D. Ill.

July 11, 2016) (“When a federal statute is violated, and especially when Congress has created a

cause of action for its violation, by definition Congress has created a legally protected interest

that it deems important enough for a lawsuit.”); see also Mogg v. Jacobs, No. 15-CV-1142-JPG-

DGW, 2016 U.S. Dist. LEXIS 33229, 2016 WL 1029396, at *5 (S.D. Ill. Mar. 15, 2016)

(“Congress does have the power to enact statutes creating legal rights, the invasion of which

creates standing, even though no injury would exist without the statute,” (quoting Sterk v.

Redbox Automated Retail, LLC, 770 F.3d 618, 623 (7th Cir. 2014)). For this reason, and to

encourage consumers to bring FDCPA actions, Congress authorized an award of statutory

damages for violations. 15 U.S.C. § 1692k(a).

       30.     Moreover, Congress has explicitly described the FDCPA as regulating “abusive

practices” in debt collection. 15 U.S.C. §§ 1692(a) – 1692(e). Any person who receives a debt



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collection letter containing a violation of the FDCPA is a victim of abusive practices. See 15

U.S.C. §§ 1692(e) (“It is the purpose of this subchapter to eliminate abusive debt collection

practices by debt collectors, to insure that those debt collectors who refrain from using abusive

debt collection practices are not competitively disadvantaged, and to promote consistent State

action to protect consumers against debt collection abuses”).

       31.     Misrepresentations of the character, amount or legal status of any debt, injure or

risk injury to interests expressly protected by Congress in the FDCPA. See Oloko v. Receivable

Recovery Servs., 2019 U.S. Dist. LEXIS 140164 (N.D. Ill. Aug. 19, 2019); Untershine v. Encore

Receivable Mgmt., Inc., 18-cv-1484 (E.D. Wis. August 9, 2019); Richardson v. Diversified

Consultants, No. 17-cv-4047, 2019 U.S. Dist. LEXIS 118786 *10-11 (N.D. Ill. July 17, 2019)

(“the receipt of a communication misrepresenting the character of the debt (here, the amount

owed) is the kind of injury that Congress sought to prevent through the FDCPA. ‘Such an injury

falls squarely within the ambit of what Congress gave consumers in the FDCPA: ‘a legally

protected interest in certain information about debts,’ with ‘deprivation of information about

one’s debt (in a communication directed to the plaintiff consumer) a cognizable injury.’”

(internal citations omitted); see also Pierre v. Midland Credit Mgmt., Inc., 2017 WL 1427070, at

*4 (N.D. Ill. Apr. 21, 2017); Saenz v. Buckeye Check Cashing of Illinois, 2016 WL 5080747, at

*1-2 (N.D. Ill. Sept. 20, 2016); Bernal v. NRA Grp., LLC, 318 F.R.D. 64, 72 (N.D. Ill. 2016)

(holding that Plaintiff had standing to challenge misleading communication sent to him because

the communication violated his “right to be free from such misleading communications”). Such

misrepresentations may cause consumers to make incorrect decisions about their finances or

make payments to incorrect parties.




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       32.      15 U.S.C. § 1692e generally prohibits “any false, deceptive, or misleading

representation or means in connection with the collection of any debt.”

       33.      15 U.S.C. § 1692e(2)(a) specifically prohibits “The false representation of— the

character, amount, or legal status of any debt.

       34.      15 U.S.C. § 1692e(5) specifically prohibits “the threat to take any action that

cannot legally be taken or that is not intended to be taken.”

       35.      15 U.S.C. § 1692e(10) specifically prohibits the “use of any false representation

or deceptive means to collect or attempt to collect any debt.”

       36.      15 U.S.C. § 1692f generally prohibits “unfair or unconscionable means to collect

or attempt to collect any debt.”

                                             The WCA

       37.      The Wisconsin Consumer Act (“WCA”) was enacted to protect consumers against

unfair, deceptive, and unconscionable business practices and to encourage development of fair

and economically sound practices in consumer transactions. Wis. Stat. § 421.102(2).

       38.      The Wisconsin Supreme Court has favorably cited authority finding that the

WCA “goes further to protect consumer interests than any other such legislation in the country,”

and is “probably the most sweeping consumer credit legislation yet enacted in any state.” Kett v.

Community Credit Plan, Inc., 228 Wis. 2d 1, 18 n.15, 596 N.W.2d 786 (1999) (citations

omitted).

       39.      To further these goals, the Act’s protections must be “liberally construed and

applied.” Wis. Stat. § 421.102(1); see also § 425.301.

       40.      “The basic purpose of the remedies set forth in Chapter 425, Stats., is to induce

compliance with the WCA and thereby promote its underlying objectives.” First Wisconsin



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Nat’l Bank v. Nicolaou, 113 Wis. 2d 524, 533, 335 N.W.2d 390 (1983). Thus, private actions

under the WCA are designed to both benefit consumers whose rights have been violated and also

competitors of the violators, whose competitive advantage should not be diminished because of

their compliance with the law.

       41.     To carry out this intent, the WCA provides Wisconsin consumers with an array of

protections and legal remedies. The Act contains significant and sweeping restrictions on the

activities of those attempting to collect debts. See Wis. Stats. § 427.104.

       42.     The Act limits the amounts and types of additional fees that may be charged to

consumers in conjunction with transactions. Wis. Stats. § 422.202(1). The Act also provides

injured consumers with causes of action for class-wide statutory and actual damages and

injunctive remedies against defendants on behalf of all customers who suffer similar injuries. See

Wis. Stats. §§ 426.110(1); § 426.110(4)(e). Finally, “a customer may not waive or agree to

forego rights or benefits under [the Act].” Wis. Stat. § 421.106(1).

       43.     Consumers’ WCA claims under Wis. Stat. § 427.104(1) are analyzed using the

same methods as claims under the FDCPA. Indeed, the WCA itself requires that the court

analyze the WCA “in accordance with the policies underlying a federal consumer credit

protection act,” including the FDCPA. Wis. Stat. § 421.102(1).

       44.     Further, the Wisconsin Supreme Court has held that WCA claims relating to debt

collection are to be analyzed under the “unsophisticated consumer” standard. Brunton v. Nuvell

Credit Corp., 785 N.W.2d 302, 314-15. In Brunton, the Wisconsin Supreme Court explicitly

adopted and followed the “unsophisticated consumer” standard, citing and discussing Gammon

v. GC Servs. Ltd. P’ship, 27 F.3d 1254, 1257 (7th Cir. 1994). Id.




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       45.     Wis. Stat. § 427.104(1)(g) states that a debt collector may not: "Communicate

with the customer or a person related to the customer with such frequency of at such unusual

hours or in such a manner as can reasonably be expected to threaten or harass the customer."

       46.     Wis. Stat. § 427.104(1)(h) states that a debt collector may not: "Engage in other

conduct . . . in such a manner as can reasonably be expected to threaten or harass the customer.”

       47.     Wis. Stat. § 427.104(1)(L) states that a debt collector may not: “Threaten action

against the customer unless like action is taken in regular course or is intended with respect to

the particular debt.”

                                       COUNT I – FDCPA

       48.     Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in the preceding paragraphs of this Complaint.

       49.     Count I is brought in the alternative of Count II.

       50.     If Halsted and/or the creditor did not report Plaintiff’s alleged debt to any CRA

between sending Exhibits A & B, the representation included in Exhibit A that “a negative credit

report reflecting on your credit record may be submitted to a credit reporting agency if you fail to

fulfill the terms of your credit obligations” constitutes a false, deceptive, and misleading threat to

undertake an action neither Halsted nor the creditor intended to take.

       51.     Defendants violated 15 U.S.C. §§ 1692e, 1692e(5), 1692e(10), and 1692f.

                                       COUNT II – FDCPA

       52.     Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in the preceding paragraphs of this Complaint.

       53.     Count II is brought in the alternative of Count I.




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       54.       If Halsted and/or the creditor did report the alleged debt to a CRA, the

representation included in Exhibit B that “a negative credit report reflecting on your credit record

may be submitted to a credit reporting agency if you fail to fulfill the terms of your credit

obligations” constitutes a false, deceptive, and misleading representation as to the character and

legal status of such debt because the unsophisticated consumer would understand such a

representation to indicate that a negative credit report could be avoided if they tendered payment

as demanded by the subsequent letter.

       55.       Defendants violated 15 U.S.C. §§ 1692e, 1692e(2)(A), 1692e(10), and 1692f.

                                         COUNT III – WCA

       56.       Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in the preceding paragraphs of this Complaint.

       57.       Count III is brought in the alternative of Count IV.

       58.       If Halsted and/or the creditor did not report Plaintiff’s alleged debt to any CRA

between sending Exhibits A & B, the representation included in Exhibit A that “a negative credit

report reflecting on your credit record may be submitted to a credit reporting agency if you fail to

fulfill the terms of your credit obligations” constitutes a false, deceptive, and misleading threat to

undertake an action neither Halsted nor the creditor intended to take.

       59.       Defendant    violated   Wis.    Stat.   §§   427.104(1)(g),    427.104(1)(h),    and

427.104(1)(L).

                                         COUNT IV – WCA

       60.       Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in the preceding paragraphs of this Complaint.

       61.       Count IV is brought in the alternative of Count III.



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       62.     If Halsted and/or the creditor did report the alleged debt to a CRA, the

representation included in Exhibit B that “a negative credit report reflecting on your credit record

may be submitted to a credit reporting agency if you fail to fulfill the terms of your credit

obligations” could reasonably be expected to harass the customer.

       63.     Defendant violated Wis. Stat. §§ 427.104(1)(g), 427.104(1)(h).

                                       CLASS ALLEGATIONS

       64.     Plaintiff brings this action on behalf of a Class, consisting of (a) all natural

persons in the State of Wisconsin (b) who were sent a series of two or more collection letters by

Halsted in the form of Exhibit A and/or Exhibit B to the complaint, (c) seeking to collect an

alleged debt that was incurred for personal, family, or household purposes, (d) between

November 18, 2018 and November 18, 2019, inclusive (e) that was not returned by the postal

service.

       65.     The Class is so numerous that joinder is impracticable. Upon information and

belief, there are more than 50 members of the Class.

       66.     There are questions of law and fact common to the members of the class, which

common questions predominate over any questions that affect only individual class members.

The predominant common question is whether Exhibit A violates the FDCPA and/or the WCA.

       67.     Plaintiff’s claims are typical of the claims of the Class members. All are based on

the same factual and legal theories.

       68.     Plaintiff will fairly and adequately represent the interests of the Class members.

Plaintiff has retained counsel experienced in consumer credit and debt collection abuse cases.

       69.     A class action is superior to other alternative methods of adjudicating this dispute.

Individual cases are not economically feasible.



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                                        JURY DEMAND

       70.    Plaintiff hereby demands a trial by jury.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

the Class and against Defendants for:

       (a)    actual damages;

       (b)    statutory damages;

       (c)    attorneys’ fees, litigation expenses and costs of suit; and

       (d)    such other or further relief as the Court deems proper.

Dated: November 18, 2019.


                                                     ADEMI & O’REILLY, LLP

                                             By:     /s/ Mark A. Eldridge___
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